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                     EXHIBIT 35
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·1· · · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · · FOR THE SOUTHERN DISTRICT OF TEXAS
·2· · · · · · · · · · · ·HOUSTON DIVISION

·3· ·FOOD NOT BOMBS HOUSTON· · §
· · ·ET AL.,· · · · · · · · · ·§
·4· · · · · · · · · · · · · · ·§· Case No. 4-24-cv-338
· · ·PLAINTIFFS,· · · · · · · ·§
·5· · · · · · · · · · · · · · ·§· (Consolidated Case No.
· · ·v.· · · · · · · · · · · · §· 4:23-cv-1206)
·6· · · · · · · · · · · · · · ·§
· · ·CITY OF HOUSTON, TEXAS,· ·§
·7· ·DEFENDANT.· · · · · · · · §

·8

·9· · · · · · · · · · · ORAL DEPOSITION OF

10· · · · · · · · ·CAPTAIN JENNIFER LYNN KENNEDY

11· · · · · · · · · · · ·FEBRUARY 11, 2025

12

13

14

15· · · · ORAL DEPOSITION OF CAPTAIN JENNIFER LYNN KENNEDY,

16· ·produced as a witness at the instance of the Plaintiffs

17· ·and duly sworn, was taken in the above styled and

18· ·numbered cause on Tuesday, February 11, 2025, from 9:09

19· ·a.m. to 3:51 p.m., before DONNA QUALLS, Notary Public in

20· ·and for the State of Texas, Notary ID No. 12161359,

21· ·reported by computerized stenotype machine, at the

22· ·offices of Houston City Hall Annex, 900 Bagby Street,

23· ·4th Floor, Houston, Texas, pursuant to the Federal Rules

24· ·of Civil Procedure, and any provisions stated on the

25· ·record or attached hereto.
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·1· · · · · · · · · · ·A P P E A R A N C E S

·2
· · ·FOR THE PLAINTIFF, FOOD NOT BOMBS AND BRANDON WALSH:
·3· · · · TRAVIS WALKER FIFE
· · · · · RANDALL HIROSHIGE
·4· · · · CHRISTINA BEELER
· · · · · TEXAS CIVIL RIGHTS PROJECT
·5· · · · 1405 Montopolis
· · · · · Austin, Texas· 78741
·6· · · · (512) 474-5073
· · · · · travis@texascivilrightsproject.org
·7· · · · randy@texascivilrightsproject.org
· · · · · christinab@texascivilrightsproject.org
·8

·9· ·FOR THE PLAINTIFF, PHILLIP PICONE:
· · · · · RANDALL L. KALLINEN
10· · · · KALLINEN LAW FIRM
· · · · · 511 Broadway Street
11· · · · Houston, Texas· 77012
· · · · · (713) 320-3785
12· · · · attorneykallinen@aol.com

13
· · ·FOR THE DEFENDANT, CITY OF HOUSTON:
14· · · · LUCILLE ANDERSON
· · · · · KENNETH S. SOH
15· · · · CITY OF HOUSTON LEGAL DEPARTMENT
· · · · · P.O. Box 368
16· · · · Houston, Texas· 77001-0368
· · · · · (832) 393-6491
17· · · · mlucille.anderson@houstontx.gov
· · · · · kenneth.soh@houstontx.gov
18

19
· · ·Also Present:
20· · · · Natoya Inglis
· · · · · Anamaria Kheveli
21· · · · Rihika Kumar

22

23

24

25
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·1· · · · A.· Yes.
·2· · · · Q.· Correctly, sorry?
·3· · · · A.· Yes.
·4· · · · Q.· And so the keyword here is "conduct a food
·5· ·service event without advanced written consent of the
·6· ·public or private property owner."
·7· · · · · · · · ·And so could you look at 20-251,
·8· ·definitions?
·9· · · · A.· Yes.
10· · · · Q.· And so Section 20-251 defines food service
11· ·event as "each instance in which charitable food
12· ·services are provided to more than five individuals"; is
13· ·that right?
14· · · · A.· Yes.
15· · · · Q.· So why -- what interest does it serve to
16· ·criminalize serving five individuals versus six or seven
17· ·individuals?
18· · · · · · · · ·MS. ANDERSON:· Objection; form.
19· · · · Q.· (BY MR. FIFE)· Let me rephrase the question.
20· · · · · · · · ·Why is the limit in this ordinance
21· ·providing charitable food services to more than five
22· ·individuals as opposed to some other number of
23· ·individuals?
24· · · · A.· I don't know.
25· · · · Q.· Okay.· So the next definition -- so food




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·1· ·service event restricts each instance in which
·2· ·charitable food services are provided to more than five
·3· ·individuals.
·4· · · · · · · · ·And then the definition right above food
·5· ·service event defines charitable food services.· And it
·6· ·says "Charitable food services provided means providing
·7· ·food without charge, payment, or other compensation to
·8· ·benefit those in need at an outdoor location not owned,
·9· ·leased, or controlled by the individual or organization
10· ·providing food."
11· · · · · · · · ·Did I read that right?
12· · · · A.· Yes.
13· · · · Q.· So the -- I have a couple of questions about
14· ·this definition.· So would this definition encompass
15· ·birthday parties?
16· · · · A.· I guess, if you could explain that little kids
17· ·are in need of pizza, then possibly.· It might be a
18· ·stretch.
19· · · · Q.· Well, I guess that's actually a good point.
20· ·Let me ask you -- within the meaning of this ordinance,
21· ·what does "those in need" mean?
22· · · · A.· Well, if you look at one of the whereas
23· ·statements, the city council recognizes those who are
24· ·unable to provide food for themselves.· So my
25· ·interpretation is those in need would be those who are




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·1· ·unable to provide food for themselves.
·2· · · · Q.· And you just read from the second whereas
·3· ·paragraph on the first page, right?
·4· · · · A.· Correct.
·5· · · · Q.· So those in need means those unable to provide
·6· ·food for themselves?
·7· · · · · · · · ·MS. ANDERSON:· Objection; form.
·8· · · · A.· That would be my interpretation.
·9· · · · Q.· (BY MR. FIFE)· Okay.· How is an officer
10· ·enforcing this ordinance supposed to determine whether a
11· ·person meets that definition of "in need"?
12· · · · A.· We enforce whether or not those conducting the
13· ·events have permission from the property owner, not
14· ·whether or not they're serving people that are in need.
15· ·So we are not asking everybody that's in line if they're
16· ·able or unable to provide food for themselves.· I think
17· ·that would be...
18· · · · Q.· But does the ordinance prohibit serving free
19· ·food to those who are not in need?
20· · · · A.· I'm not sure.· I guess it depends on how you
21· ·interpret the definitions.
22· · · · Q.· Okay.· Well -- so let's go back to the
23· ·definitions, then.· So Section 20-252, the use of
24· ·property without consent prohibited makes it unlawful
25· ·for any organization or individual to sponsor or conduct




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·1· ·a food services event on public property without the
·2· ·advanced written consent of the public property owner,
·3· ·right?
·4· · · · A.· Uh-huh.
·5· · · · Q.· And then Section 20-251 defines a food service
·6· ·event as each instance in which charitable food services
·7· ·are provided to more than five individuals, right?
·8· · · · A.· Right.
·9· · · · Q.· And then charitable food services means
10· ·providing food without charge, payment, or other
11· ·compensation to benefit those in need at an outdoor
12· ·location."· And then it continues.
13· · · · · · · · ·And so did I read the first part of that
14· ·definition right?
15· · · · A.· Yes.
16· · · · Q.· And so I guess my question is to violate
17· ·Section 20-252 the person needs to be conducting a food
18· ·service event which is defined as providing food without
19· ·charge, payment, or compensation to benefit those in
20· ·need.
21· · · · · · · · ·Do you agree with that?
22· · · · A.· Well, you just read the definition of
23· ·charitable food service event.· But I get where you're
24· ·getting at.· I would say that it is aimed more at the
25· ·intention of the food service provider that their




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·1· ·intention is to benefit those who they think may be in
·2· ·need, not to -- not that we have to prove that everybody
·3· ·in line is in need.· It's the intent of the food service
·4· ·provider.
·5· · · · Q.· And that makes sense.· I think my question,
·6· ·then, is how does an officer determine under this
·7· ·ordinance the intent to benefit those in need of the
·8· ·person or group providing charitable food services?
·9· · · · A.· You could look at -- you could speak with the
10· ·food service providers.· You could look at their online
11· ·websites that explain that their purpose is to help
12· ·people in need.· I think just generally it can be
13· ·assumed that, if a food service provider, an
14· ·organization, religious group is out providing food, the
15· ·intent is that they're trying to benefit those that are
16· ·in need.
17· · · · Q.· That's interesting.· Can you say more about
18· ·that?· Why is it safe to assume that a person serving
19· ·food for free out in the public is doing so to benefit
20· ·those in need?
21· · · · A.· I'm just thinking from, you know, personal
22· ·perspective.· I don't know that the organizations that
23· ·are going to spend the time to collect food, organize
24· ·volunteers to go help people that aren't in need.· You
25· ·know what I'm saying.




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·1· · · · Q.· Yeah.
·2· · · · A.· Like just the word "help" kind of infers that
·3· ·you are helping those in need because people that are
·4· ·not in need doesn't necessarily need help.
·5· · · · Q.· Yeah.· And it takes a lot of work to, like you
·6· ·said, assemble all the food and find a public place to
·7· ·distribute it.
·8· · · · · · · · ·Would you agree with that?
·9· · · · A.· I've never personally done that.· I would
10· ·assume so.
11· · · · Q.· Okay.· So the "to benefit those in need"
12· ·language in the charitable food service definition means
13· ·the person conducting the food event is trying to
14· ·benefit those in need, right?· I'm just trying to make
15· ·sure I understood what -- what you said.
16· · · · · · · · ·MS. ANDERSON:· Objection; form.
17· · · · A.· Yeah, that's my interpretation.
18· · · · Q.· (BY MR. FIFE)· Okay.
19· · · · A.· I mean, we can read it as it is in the
20· ·definition.· Now, finding meanings behind specific words
21· ·within the definition is something that probably needs
22· ·to be answered by an attorney who wrote the definitions.
23· · · · Q.· Yeah.· And so the next piece of this definition
24· ·I'm curious about is "without charge, payment, or other
25· ·compensation to benefit those in need."




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·1· ·property owner but without participating in the program
·2· ·established by this article shall not be deemed in
·3· ·violation of this article."
·4· · · · · · · · ·Did I read that right?
·5· · · · A.· Yes.
·6· · · · Q.· Do you agree that this means that participation
·7· ·in the certification program outlined in Section 20-254
·8· ·is not a prerequisite to conducting charitable food
·9· ·service events?
10· · · · A.· That's correct.· It's voluntary.
11· · · · Q.· It's a voluntary program, right?
12· · · · A.· Yes.
13· · · · Q.· And so to conduct charitable food service
14· ·events, and organization is not required to undertake
15· ·the certification process that's outlined in 20-254?
16· · · · A.· That's correct.
17· · · · Q.· Okay.· Could you turn to page 5 of the
18· ·ordinance?· This is COH 024086.· I'd like to discuss
19· ·just briefly Section 20-257.· That's the use of city
20· ·parks and other city property for food service events.
21· · · · · · · · ·So looking at the first sentence, it says
22· ·"The director of the parks and recreation department
23· ·shall develop rules, regulations, and criteria for the
24· ·use of properties for food service events and shall
25· ·maintain a list of park properties with areas approved




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·1· ·for food service events."
·2· · · · · · · · ·Did I read that right?
·3· · · · A.· You left out the word "park."
·4· · · · Q.· Oh, sorry.
·5· · · · A.· But yes, in general you read it correctly.
·6· · · · Q.· Okay.· But in essence, this first sentence
·7· ·gives a director of the parks and recreation department
·8· ·the authority to develop rules, regulations, and
·9· ·criteria for the use of park properties for charitable
10· ·feedings?
11· · · · A.· Yes.
12· · · · Q.· And does the parks department currently have
13· ·any approved parks for charitable feeding?
14· · · · A.· No.
15· · · · Q.· Okay.· And we'll get to that more in a second,
16· ·but does the director of parks and recreation have any
17· ·guidance, rules, regulations, or criteria for the use of
18· ·parks' property for charitable feeding?
19· · · · A.· Likely so because in -- back in 2016 when we
20· ·used to use the parks, I've never seen them.· It says
21· ·they shall develop rules, regulations, and criteria.· So
22· ·I'm assuming at one point we did have those when we were
23· ·utilizing the parks.
24· · · · Q.· But now no parks' property is approved for
25· ·charitable food service events?




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·1· · · · A.· That's correct.
·2· · · · Q.· Okay.· And then the second sentence right after
·3· ·the one I just read says "The director of health and
·4· ·human services department shall develop rules,
·5· ·regulations, and criteria for the use of other city
·6· ·property for food service events and shall maintain a
·7· ·list of such properties with areas approved for service
·8· ·events."
·9· · · · · · · · ·Did I read that right?
10· · · · A.· Yes.
11· · · · Q.· So this is a similar provision.· It gives the
12· ·director of health and human services the authority to
13· ·develop rules, regulations, and criteria for the use of
14· ·other city property for food service events?
15· · · · A.· That's correct.
16· · · · Q.· So the director of the health department has
17· ·authority over all non-parks' properties?
18· · · · · · · · ·MS. ANDERSON:· Objection; form.
19· · · · A.· If it is city property.
20· · · · Q.· (BY MR. FIFE)· Okay.
21· · · · A.· Not all others but --
22· · · · Q.· That's a good point.· So the health department
23· ·has authority over whether to authorize charitable
24· ·feedings at all non-parks city property?
25· · · · · · · · ·MS. ANDERSON:· Objection; form.




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·1· · · · A.· They maintain a list.
·2· · · · Q.· (BY MR. FIFE)· And that's the list on the
·3· ·health department's charitable feeding website?
·4· · · · A.· I believe there's a list on the website.
·5· · · · Q.· Okay.· I just have one other question about
·6· ·Section 20-257.· So does the mayor fit into this
·7· ·approval process at all?· Like, say, for example, the
·8· ·parks department wanted to approve a park.· Could the
·9· ·mayor tell them to reverse course and not approve the
10· ·location?
11· · · · A.· I would say that's probably within the mayor's
12· ·scope of authority, yes.
13· · · · Q.· Okay.· Now, we've talked thus far about the
14· ·meaning of the ordinance, but I wanted to discuss these
15· ·terms in context of a particular police report.· And I
16· ·will mark this as Exhibit 17.
17· · · · · · · · ·(Exhibit No. 17 was marked.)
18· · · · Q.· (BY MR. FIFE)· Captain Kennedy, do you
19· ·recognize this document?
20· · · · A.· No.
21· · · · Q.· So it says at the -- so this is a Houston
22· ·Police Department -- is this a police report?
23· · · · A.· Yes.
24· · · · Q.· And if you look at the top, it says "Offense
25· ·Report Title.· Feeding homeless without" -- well "w/o




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·1· ·differential response team that handles those quality of
·2· ·life or civility complaints.
·3· · · · Q.· And was the differential response team one of
·4· ·the teams that you directed as lieutenant in the
·5· ·Downtown Division?
·6· · · · A.· Yes.
·7· · · · Q.· And so did you direct which officers of the DRT
·8· ·team would patrol Food Not Bombs events?
·9· · · · A.· No.· I never specifically addressed anything
10· ·Food Not Bombs.· It was if we had charitable food
11· ·service events that were being conducted that violated
12· ·the ordinance.
13· · · · Q.· And -- okay.· But -- so you then personally
14· ·were directing officers to go to charitable food service
15· ·events at the Central Library?
16· · · · A.· Yes.
17· · · · Q.· And was it routinely the same officers, or
18· ·how -- how was that team staffed?
19· · · · A.· So we developed basically a schedule of who
20· ·would work because it was in the evenings after these
21· ·officers' regular shift.· So it would be officers from
22· ·the differential response team, some officers from
23· ·patrol, some officers from the crime suppression team.
24· · · · Q.· Okay.· Now, the listed suspect on -- if you
25· ·turn to page 4, it says "The listed suspect James Foster




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·1· ·and the organization Food Not Bombs conducted a food
·2· ·service event by serving individuals on property without
·3· ·consent."
·4· · · · · · · · ·Do you see that first sentence of the third
·5· ·full paragraph?
·6· · · · A.· Yes.
·7· · · · Q.· So how did the officer know that it was Food
·8· ·Not Bombs?
·9· · · · A.· They generally wear shirts, and they have
10· ·banners.· They make sure that you know that they are
11· ·Food Not Bombs.
12· · · · Q.· Okay.· And then how did the officers determine
13· ·who to cite among the Food Not Bombs individuals?
14· · · · A.· So they would ask those feeding who would be
15· ·receiving the citation.· And then the organization or
16· ·those volunteers would get together and decide who would
17· ·receive that citation.· Generally, that is how it
18· ·happened.
19· · · · Q.· And then the next sentence after the one we
20· ·just read said "We observed the listed suspect standing
21· ·at the end of the line, handing out approximately
22· ·100 meals to the homeless."
23· · · · · · · · ·Did I read that right?
24· · · · A.· Yes.
25· · · · Q.· So how did the officer determine whether the




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·1· ·individuals were homeless?
·2· · · · A.· These officers with the differential response
·3· ·team, they know just about every single person who is
·4· ·homeless in downtown.· They interact with them on a
·5· ·daily basis, and so they know very well who the homeless
·6· ·population is.
·7· · · · Q.· Is the DRT team the one -- the officers who
·8· ·drive around and help people with identification?
·9· · · · A.· No.
10· · · · Q.· What unit is that?
11· · · · A.· That's the HOT unit, the homeless outreach
12· ·team.· So the HOT unit is more of an outreach unit.· And
13· ·the differential response team is more of an enforcement
14· ·side.· Differential response team, downtown every day,
15· ·goes to the different encampments and other areas to
16· ·enforce civility ordinances.
17· · · · Q.· And so DRT then also does encampment like, if
18· ·there's a homeless encampment, that they will remove the
19· ·encampment from the public or private property?
20· · · · A.· They are involved in that, yes.
21· · · · Q.· Okay.· And --
22· · · · · · · · ·MS. ANDERSON:· Is this a good time to take
23· ·a break?
24· · · · · · · · ·MR. FIFE:· Yeah, actually.
25· · · · · · · · ·(Recess from 10:15 a.m. to 10:29 a.m.)




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·1· ·can tell you Allen's Landing definitely does not.· It's
·2· ·basically just a park underneath a bridge along the
·3· ·bayou.· There are no restrooms there.
·4· · · · Q.· So I want to clear that up, then.· So earlier
·5· ·when you were describing how the City selected these
·6· ·locations in 2012 through 2016, you mentioned bathrooms,
·7· ·parking, and handwashing, right?
·8· · · · A.· Right, yeah.
·9· · · · Q.· But what you were referring to were the more
10· ·recent regulations enacted by the health department?
11· · · · A.· Yes, that's correct.
12· · · · Q.· And do you know when those were enacted?
13· · · · A.· I don't know.
14· · · · Q.· Would sometime late 2022, early 2023 sound
15· ·right?
16· · · · A.· I don't know.
17· · · · Q.· Okay.· And so at the time of this list, which
18· ·was 2012 to 2016, do you know if the parks department
19· ·had comparable regulations to what you described in
20· ·terms of bathrooms, parking, and handwashing?
21· · · · A.· Some of those.· But like as I said, Allen's
22· ·Landing, there's no bathrooms, there's no handwashing
23· ·stations.· So I don't know.· I'd have to go through and
24· ·look at each park specifically.· I know city parks all
25· ·have a set of standard rules that must be followed that




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·1· ·are listed.· But outside of that, I don't know.
·2· · · · Q.· So were you aware of any criteria that the City
·3· ·applied to all of these locations from 2012 to 2016?
·4· · · · A.· No.
·5· · · · Q.· Are you aware of any written guidance from 2012
·6· ·to 2016 identifying what criteria the City would use to
·7· ·approve or disapprove public property for charitable
·8· ·food service events?
·9· · · · A.· No.
10· · · · Q.· Now, we were -- so the category we were just
11· ·discussing was City-owned property locations approved
12· ·from 2012 to 2016, right?
13· · · · A.· Yes.
14· · · · Q.· Now, the next list or -- sorry.· The next
15· ·category in these responses was food and housing
16· ·programs from 2019 to 2022, right?
17· · · · A.· Yes.
18· · · · Q.· So what were -- were any public property
19· ·locations approved for charitable food service events
20· ·from 2016 to 2019?
21· · · · A.· I don't know.
22· · · · Q.· Do you see any listed in the City's
23· ·interrogatory responses?
24· · · · A.· No.
25· · · · Q.· Could you name a location that was approved




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·1· ·for charitable food service events -- a public property
·2· ·location that was approved for charitable food service
·3· ·events from 2016 to '19?
·4· · · · A.· No.
·5· · · · Q.· And I just want to confirm you also said you
·6· ·were unaware of -- let me put the question this way.
·7· · · · · · · · ·Were any locations approved from 2016 to
·8· ·'19 for charitable food service events?
·9· · · · A.· Not that I know of.
10· · · · Q.· Do you know if the City made a decision to not
11· ·approve any locations from 2016 to '19?
12· · · · A.· No, I don't know that.· I don't believe there
13· ·was any enforcement between 2016 to 2019 of the
14· ·ordinance.
15· · · · · · · · ·MR. FIFE:· Could we take a five-minute
16· ·break?
17· · · · · · · · ·THE REPORTER:· Off the record at 11:28.
18· · · · · · · · ·(Recess from 11:28 a.m. to 12:30 p.m.)
19· · · · · · · · ·THE REPORTER:· Back on the record at 12:30.
20· · · · Q.· (BY MR. FIFE)· So, Captain Kennedy, before we
21· ·left for lunch, we were discussing what locations, if
22· ·any, the City had approved for charitable food service
23· ·events from 2015 to '19.· And that's page 4 of this
24· ·City's answers and objections to our interrogatories.
25· ·We agreed before the break that there were no locations




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·1· ·know what his role was at the time of this e-mail?
·2· · · · A.· No.
·3· · · · Q.· But safe to say he was an employee of the parks
·4· ·and rec department?
·5· · · · A.· Yes.
·6· · · · Q.· Based on the PRD next to his e-mail?
·7· · · · A.· Correct.
·8· · · · Q.· Okay.· Now, looking at the message,
·9· ·Ms. Longoria writes "I understand that all charitable
10· ·feedings have been canceled until further notice."
11· · · · · · · · ·Do you see that?
12· · · · A.· I do.
13· · · · Q.· Okay.· Do you know or does the City know
14· ·whether Ms. Longoria was correct that as of July 8th,
15· ·2016, all charitable feedings had been canceled until
16· ·further notice?
17· · · · A.· I do know that the feedings that were taking
18· ·place at the parks in 2016 -- I don't know the exact
19· ·date.· I do know those feedings at the park were
20· ·canceled.· There was serious safety concerns.· There was
21· ·a huge increase in the kush among the homeless
22· ·population that was creating a lot of issues for the
23· ·parks.· And I believe the City felt like it was no
24· ·longer safe to host these -- or to allow these events to
25· ·be hosted on the park property.· And so they were




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·1· ·canceled.
·2· · · · Q.· So -- so in 2016, the parks and recreation
·3· ·department decided to suspend all charitable feeding
·4· ·activities on parks' property due to the kush and issues
·5· ·that kush was causing in the parks?
·6· · · · A.· I don't know if it was parks and recs
·7· ·department that decided that, but the City decided that.
·8· · · · Q.· Okay.
·9· · · · A.· Yes.
10· · · · Q.· And so -- and you can just see here for
11· ·completeness, Mr. Joe Turner echoes what you had said
12· ·that -- and he writes "They have all been temporary
13· ·suspended while the mayor works through the kush issue
14· ·first in our parks and public areas.· And then second,
15· ·we be working to set up discussions with the faith-based
16· ·organizations on how to best provide services to those
17· ·in need, not just feedings."
18· · · · · · · · ·Do you see that?
19· · · · A.· Yes.
20· · · · Q.· So you discussed the first part in your answer
21· ·which was issues related to kush.· But at the time, was
22· ·the City also trying to work with faith-based
23· ·organizations on how to best provide services to those
24· ·in need?
25· · · · A.· I believe so.· And right around this time also




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·1· ·in 2016 is when Rapid Rehousing Program began.· And so
·2· ·it was likely an effort to collaborate with the
·3· ·organizations that were conducting the feedings to offer
·4· ·those, like, housing services along with the feedings.
·5· · · · Q.· Uh-huh.· And was that desire to work with
·6· ·faith-based organizations on how to collaboratively
·7· ·implement the Rapid Rehousing Program, was that also a
·8· ·basis for suspending charitable food activities in the
·9· ·parks?
10· · · · A.· No.· I believe that the primary basis was just
11· ·safety concerns.
12· · · · Q.· Safety concerns related to kush?
13· · · · A.· Right.
14· · · · Q.· Okay.· So at the time of this e-mail, all
15· ·charitable food service activities in public parks had
16· ·been suspended, right?
17· · · · A.· I believe so, yes.
18· · · · Q.· Was there a plan or criteria in place at which
19· ·point the city parks could be reauthorized as locations
20· ·for charitable food service activities?
21· · · · A.· Not when it was canceled.· I don't think they
22· ·had a plan in place to reopen.· When it was canceled, it
23· ·was canceled for safety issues.· Then I'm assuming as it
24· ·says here the mayor was going to work with the
25· ·organizations to kind of move forward.




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·1· · · · Q.· So at the time of this e-mail, the -- the City
·2· ·had suspended charitable food activities on public
·3· ·parks, but at the time there was not a plan to
·4· ·reauthorize those charitable food service activities?
·5· · · · A.· I believe so.
·6· · · · Q.· Now, what is kush?
·7· · · · A.· It's synthetic marijuana.
·8· · · · Q.· At the time, was it illegal?
·9· · · · A.· Yes.· So there was -- I don't know -- have the
10· ·exact dates as far as legislation.· The issue with kush
11· ·and synthetic marijuana is there are several different
12· ·chemical formulations, right?· And so their court system
13· ·was having a difficult time keeping up with the
14· ·different chemical formulations and having legislation
15· ·to list all chemical formulations as controlled
16· ·substances that is illegal.
17· · · · Q.· And was legislation prohibiting these various
18· ·chemical iterations eventually passed?
19· · · · A.· Yes.· Now, there are -- this is somewhat out of
20· ·my scope as I'm not a narcotics officer or, you know, a
21· ·scientist.· However, synthetic marijuana -- I mean, it
22· ·is illegal, but there are different -- I mean you can
23· ·come up with different formulations that would then need
24· ·to be introduced into legislation.
25· · · · Q.· So is kush just -- and again, I appreciate that




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·1· ·or what was fear of having people who just smoked kush
·2· ·attend charitable food service events?
·3· · · · A.· I think the fear is that the City, you know,
·4· ·allowing this to happen on public property.· But now
·5· ·that we have this increase in kush that often leads to
·6· ·violent incidents, we don't have the police officers
·7· ·available to then staff all these parks to ensure that
·8· ·everybody that's has taken part in these feeding events
·9· ·are safe.
10· · · · · · · · ·So I think it was more of a matter of
11· ·ensuring that people are safe.· And if the City did not
12· ·have the resources available to have police officers at
13· ·every single park during every single feeding, it's not
14· ·safe.
15· · · · Q.· Yeah.· So at the time, you said it was hard to
16· ·determine whether -- the courts were having a hard time
17· ·determining whether the kush was composed of chemicals
18· ·that were at the time illegal.· Is that a correct
19· ·understanding of your testimony?
20· · · · · · · · ·MS. ANDERSON:· Objection; form.
21· · · · A.· So the courts had a hard time keeping up --
22· · · · Q.· (BY MR. FIFE)· Okay.
23· · · · A.· -- with the legislation to make all of the
24· ·different types or all of the different formulations
25· ·illegal and within that controlled substance.




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·1· · · · Q.· So when HPD found someone who was on drugs
·2· ·acting aggressively, how did they respond?
·3· · · · · · · · ·MS. ANDERSON:· Objection; form.
·4· · · · A.· It really depends on the situation.
·5· · · · Q.· (BY MR. FIFE)· Well, let me put it this way.
·6· ·What did the Houston Police Department do, or what did
·7· ·the City do in response to the presence of kush beyond
·8· ·suspending charitable food service activities?
·9· · · · A.· So we -- I, mean several arrests were made for
10· ·individuals with possession of synthetic marijuana.
11· ·That would get tested at the drug lab.· A lot of times,
12· ·we responded to disturbances involving the homeless
13· ·population and found that somebody was in possession of
14· ·kush or under the influence of kush.· And so it really
15· ·just depended on the situation as to how we handled it.
16· · · · Q.· Yeah.· And in -- and so is kush currently a --
17· ·as big of a problem now as it was in 2016?
18· · · · A.· No, it does not seem like it's as big as a
19· ·problem?
20· · · · Q.· And why is that?
21· · · · A.· I don't know the exact reasoning.· Probably a
22· ·combination of enforcement, legislation, ease of access.
23· ·Used to you could get some of this synthetic marijuana
24· ·formulations from gas stations, things like that.· But
25· ·there's been a lot more enforcement, I think in that




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·1· ·area to where it's not as easily accessible.· In the
·2· ·beginning, it was very easily accessible, and I think
·3· ·that's what caused such a dangerous situation.
·4· · · · Q.· And so at the time in 2016 when there were
·5· ·charitable food service events, were there officers at
·6· ·those events on a regular basis in the parks?
·7· · · · A.· No, I don't believe so.
·8· · · · Q.· Okay.· And I just want to make sure I
·9· ·understood this that you -- that the City did not have
10· ·evidence at the time that organizations sponsoring
11· ·charitable food service events were distributing kush?
12· · · · · · · · ·MS. ANDERSON:· Objection; form.
13· · · · Q.· (BY MR. FIFE)· The charitable food service
14· ·groups weren't the ones who are supplying kush?
15· · · · A.· I don't believe the City thought that.
16· · · · Q.· Are there any plans to reauthorize charitable
17· ·food service activities in public parks today?
18· · · · A.· I don't know if that conversation is happening
19· ·at the mayor's office or not.· But as far as I know, no.
20· · · · Q.· And you do -- and testified earlier that
21· ·currently no public parks are authorized for charitable
22· ·food service activities?
23· · · · A.· Correct.
24· · · · Q.· Okay.· Is there any criteria in place that
25· ·could allow someone to conduct a charitable food service




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·1· ·activity at a public park?
·2· · · · A.· No, there's no locations at public parks that
·3· ·are authorized right now.· So any criteria wouldn't
·4· ·matter if it's not an authorized location.
·5· · · · · · · · ·Did I answer that?
·6· · · · Q.· Yeah.· And I think you said that there are no
·7· ·criteria in place right now because no public parks are
·8· ·authorized as charitable food service locations?
·9· · · · A.· Yes.
10· · · · Q.· Does the mayor's office have the authority to
11· ·reauthorize city parks as locations for charitable food
12· ·service activities?
13· · · · A.· I would assume so.
14· · · · Q.· And can you turn back with me to Exhibit 21.
15· ·And could you look at page 4?· That's the second half to
16· ·the City's answers, to Interrogatory No. 25.· It says
17· ·food -- the next category it lists are food and housing
18· ·programs from 2019 to 2022.
19· · · · · · · · ·Do you see that?
20· · · · A.· Yes.
21· · · · Q.· And it lists the temporary Navigation center
22· ·and navigation center at 2903.
23· · · · · · · · ·Do you see that?
24· · · · A.· Yes.
25· · · · Q.· From 2019 to 2022, were any other City of




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·1· ·Houston-owned properties approved for charitable food
·2· ·service activities?
·3· · · · A.· No.· And these were not referring to charitable
·4· ·food service activities.· These are just City of
·5· ·Houston-sponsored programs like City of Houston
·6· ·locations where feeding was occurring.· So these were
·7· ·not food service events as described in the ordinance
·8· ·that are outdoors by charitable food service providers.
·9· · · · · · · · ·Do you understand?
10· · · · Q.· I think so.· Let me make sure.· So when it says
11· ·"food and housing program location," it's not referring
12· ·to locations for charitable food service activities
13· ·within the meaning of the ordinance.· It's referring to
14· ·locations where people in need can get food?
15· · · · A.· Correct.
16· · · · Q.· Okay.· And so -- are the navigation centers
17· ·public property?
18· · · · A.· Yes, I believe so.
19· · · · Q.· Okay.· And so as we've discussed, I represent
20· ·Food Not Bombs, right?
21· · · · A.· Yes.
22· · · · Q.· Could Food Not Bombs have -- Food Not Bombs
23· ·Houston, could they have conducted a charitable food
24· ·service activity at one of these navigation centers?
25· · · · A.· No.




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·1· · · · Q.· And so beyond these navigation centers, were
·2· ·there any other publicly-owned locations approved for
·3· ·charitable food service events?
·4· · · · A.· When?
·5· · · · Q.· From 2019 to 2022?
·6· · · · A.· Not that I know of.
·7· · · · Q.· And so we have -- I apologize.· I seem to have
·8· ·lost my copy.
·9· · · · · · · · ·So we discussed before lunch that there
10· ·were no locations listed here from 2016 to 2019, right?
11· · · · A.· Correct.
12· · · · Q.· And I think you said you weren't aware of any?
13· · · · A.· Right.
14· · · · Q.· And then the next piece of the answer -- or the
15· ·next category -- do you want to take a second and look?
16· · · · A.· No, you're good.
17· · · · Q.· And the next category, 2019 to 2022, you
18· ·testified that these navigation centers were not
19· ·locations for charitable food service activities within
20· ·the meaning of the ordinance, right?
21· · · · A.· Correct.
22· · · · Q.· So from 2016 to 2022, were you -- are you aware
23· ·of any public property in which a group could sponsor or
24· ·conduct a charitable food service event?
25· · · · A.· No.




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·1· · · · Q.· Do you know why that was the case?
·2· · · · A.· No.
·3· · · · Q.· Do you know of any criteria in which the City
·4· ·made that decision to not have any approved locations
·5· ·from 2016 to 2022?
·6· · · · A.· I think the -- I don't know if you're referring
·7· ·to the criteria to ending the ones in 2016, like we
·8· ·discussed, at the parks for safety reasons.
·9· · · · Q.· Are there any other criteria you're aware of?
10· · · · A.· No.
11· · · · Q.· And are you -- and -- so from 2016 to 2022,
12· ·were there any criteria by which charitable food service
13· ·activities could resume at publicly owned locations?
14· · · · A.· No.
15· · · · Q.· So thus far we've been discussing approval via
16· ·the charitable feeding ordinance, the ordinance
17· ·challenged in this case.· But the City also has
18· ·ordinances that regulate special events and street
19· ·functions and parades, right?
20· · · · A.· Yes.
21· · · · Q.· So if someone wanted to sponsor a parade or a
22· ·5K, they would go to the mayor's office of special
23· ·events and apply those ordinances, right?
24· · · · A.· Yes.
25· · · · Q.· So could a group that wanted to conduct




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·1· ·charitable food service activities instead of going
·2· ·through the ordinance challenge in this case, could they
·3· ·just apply for a special event permit?
·4· · · · A.· I don't believe so if it violates the
·5· ·ordinance.
·6· · · · Q.· Okay.· I'll mark this as Exhibit 23.
·7· · · · · · · · ·(Exhibit No. 23 was marked.)
·8· · · · Q.· (BY MR. FIFE)· And -- so this is at the bottom
·9· ·half of the page.· This is an e-mail from Mr. Ricardo
10· ·Magdaleno sent on August 1st, 2023.· And the subject of
11· ·the e-mail is homeless feedings.
12· · · · · · · · ·Do you see that?
13· · · · A.· I do.
14· · · · Q.· Now, Mr. Magdaleno just in essence writes
15· ·exactly what you just said which is -- he said "I was
16· ·walking by the library plaza and saw this sign on the
17· ·fence.· The sign posted by HPD is clear-cut and specific
18· ·on all events with the intent of feeding the homeless."
19· · · · · · · · ·Do you see those first two sentences?
20· · · · A.· Yes.
21· · · · Q.· And the last sentence says "If you have a
22· ·producer that insists on a special event permit, we must
23· ·deny the event and ask them to follow the instructions
24· ·stated per the policy in place."
25· · · · · · · · ·Did I read that right?




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·1· · · · A.· I'm assuming that was in coordination with the
·2· ·health department.
·3· · · · Q.· And have you ever seen this response -- or had
·4· ·you ever seen this statement that Mayor Parker gave Food
·5· ·Not Bombs Houston permission to use the Central Library?
·6· · · · A.· No.
·7· · · · Q.· And you said earlier that currently Food Not
·8· ·Bombs does not have authorization from the city to
·9· ·conduct charitable food service events at the Central
10· ·Library?
11· · · · A.· Correct.
12· · · · Q.· So when was the permission revoked?
13· · · · A.· Well, I would say that it was in February of
14· ·2023 when they received warning that they were no longer
15· ·going to be able to feed there and that they have to
16· ·feed at 61 Riesner, so before any sort of enforcement
17· ·action took place.
18· · · · Q.· Okay.· Do you know -- based on what you said, I
19· ·think I know this answer.· But are you aware when this
20· ·newsletter was taken down off of the City of Houston web
21· ·page?
22· · · · A.· No.
23· · · · Q.· And then in February of 2023 when Food Not
24· ·Bombs permission was revoked, do you know who made that
25· ·decision?




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·1· · · · A.· No, not specifically.· I know -- it's not that
·2· ·their permission was revoked.· It's the only approved
·3· ·location was going to be 61 Riesner.· So there was never
·4· ·a -- here your permission is hereby revoked.· It's as of
·5· ·this date, this is going to be the only approved
·6· ·location.
·7· · · · Q.· And the only approved location was 61 Riesner
·8· ·Street, right?
·9· · · · A.· Correct.
10· · · · Q.· So was there a reason why the Central Library
11· ·was no longer going to be allowed -- let me put that
12· ·differently.
13· · · · · · · · ·Why was the Central Library no longer going
14· ·to be authorized as a charitable food service event
15· ·location?
16· · · · A.· There were significant issues and safety
17· ·concerns coming from the Central Library.· And the City
18· ·also found that a coordination of efforts among those
19· ·that participate in the food service events would be
20· ·mutually beneficial to not only those who provide the
21· ·food but those who receive the food as well as the
22· ·property where the feeding occurs.
23· · · · Q.· So if Food Not Bombs at the time wanted to use
24· ·another location for its charitable food service events,
25· ·were there any criteria by which they could select a




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·1· ·different public property location?
·2· · · · A.· No.
·3· · · · Q.· It was just 61 Riesner Street, right?
·4· · · · A.· Correct.
·5· · · · Q.· And before you mentioned that, in February of
·6· ·2023, the health department issued guidelines outlining
·7· ·sufficient trash reciprocals, handwashing stations, and
·8· ·24/7 porta potty access as requirements for any public
·9· ·property where charitable feeding would occur?
10· · · · A.· Well, it's -- yes.· So it's access during a
11· ·food service event and available 24/7.· That does not
12· ·mean that bathrooms have to be unlocked 24/7.· It means
13· ·that they have to be available for use 24/7.· And then,
14· ·basically open during a food service event.· If you read
15· ·the ordinance, it's clear in there.· But yes.· So right.
16· · · · Q.· Okay.· So to -- so it's handwashing stations,
17· ·sufficient trash reciprocals, and porta potties for use
18· ·during food service?
19· · · · A.· And parking.
20· · · · Q.· And parking?
21· · · · A.· Yes.
22· · · · Q.· Now, if Food Not Bombs had identified another
23· ·location, another publicly owned location that met those
24· ·four criteria, could they have used it for a charitable
25· ·food service event?




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·1· · · · A.· If they received permission from the public or
·2· ·private owner.· But if it was a public property, then
·3· ·that would be something that had to be approved, you
·4· ·know, by the City.· So if it was a private place then,
·5· ·yes, absolutely.
·6· · · · Q.· But in terms public property, a location with
·7· ·those four criteria we discussed would not necessarily
·8· ·be approved for the charitable food service event.· They
·9· ·would still need to ask the City for permission?
10· · · · A.· Correct.
11· · · · Q.· If a location had those four elements that we
12· ·discussed -- the porta potty, handwashing, parking, and
13· ·trash reciprocals -- would the City approve that
14· ·location, or would they still just say 61 Riesner
15· ·Street?
16· · · · · · · · ·MR. SOH:· Objection; form.
17· · · · · · · · ·MR. FIFE:· You can answer.
18· · · · A.· I think that could be a possibility.· But it
19· ·would also have to be, you know, something where the
20· ·City looks at the safety in providing, having, you know,
21· ·resources as far as being able to provide officers for
22· ·security so.
23· · · · Q.· (BY MR. FIFE)· Now, so previously we discussed
24· ·61 Riesner Street as an approved -- or actually we were
25· ·just discussing 61 Riesner Street as an approved public




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·1· · · · A.· There were several reasons -- its close
·2· ·proximity to the library where people were already being
·3· ·fed.· It's a half a mile walk.· It's well lit.· The
·4· ·sidewalks are actually brand new from McKinney and all
·5· ·along Bagby until you get to Capital.· There's no
·6· ·mobility issues with any of the sidewalks, no safety
·7· ·concerns.
·8· · · · · · · · ·There's one intersection that would have to
·9· ·be crossed as a protected intersection that's frequented
10· ·all the time especially by individuals going to the
11· ·Hobby Center.· It's in very close proximity to the Bayou
12· ·Place which is a location where we know that many of the
13· ·individuals that are participating in the feeding.
14· ·That's where they sleep at night as well, close to the
15· ·Beacon which is another major homeless provider
16· ·downtown.
17· · · · · · · · ·We also had the ability there to provide
18· ·not only the minimum of ten parking spots, trash can
19· ·receptacles, porta potties, and handwashing stations,
20· ·but we have electrical outlets available for people.· We
21· ·have portable lighting that was available.· And we have
22· ·police nearby.· And then also police that would be
23· ·on-site.· So it's a safe location.
24· · · · Q.· Who was involved in that decision?
25· · · · A.· I remember having a conversation with Chief




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·1· ·Satterwhite about considering 61 Riesner as a location.
·2· ·I believe he was involved, heavily involved, in that
·3· ·decision.· He asked my opinion at one point.· That's why
·4· ·we spoke about it.· I thought that was a great location.
·5· ·I'm not sure who made the final decision as for it being
·6· ·61 Riesner.
·7· · · · Q.· Did Chief Satterwhite speak with the mayor
·8· ·about 61 Riesner Street?
·9· · · · A.· I believe so.
10· · · · Q.· Okay.· And you mentioned the quality of the
11· ·sidewalks, how close it is to the Central Library,
12· ·lighting, proximity to locations where homeless
13· ·individuals spend a lot of time, and safety of
14· ·61 Riesner Street.· Were those -- who came up with those
15· ·criteria or factors?
16· · · · A.· Those weren't criteria or factors.· They were
17· ·just benefits of that location.
18· · · · Q.· So were there any written criteria or factors
19· ·that the City had to consider?
20· · · · A.· No.· Nothing outside of what the health
21· ·department had already created -- basically the parking
22· ·restrictions, you know, minimum of ten parking spaces,
23· ·sufficient trash reciprocals, portable restrooms, and
24· ·handwashing stations available during a food service
25· ·event and available 24/7.




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·1· · · · Q.· And so I understand the benefits of -- the
·2· ·benefits of -- that you've described for 61 Riesner
·3· ·Street, but I want to know why the City decided to have
·4· ·only one approved location as opposed to having multiple
·5· ·properties, public properties that could be used for
·6· ·charitable food service events.
·7· · · · A.· Well, as of now, there was a huge group of
·8· ·individuals that were receiving food downtown.· So we
·9· ·knew that it needed to be local to downtown for the
10· ·groups that were receiving food could easily get to,
11· ·right?
12· · · · · · · · ·And as far as ensuring officers for safety
13· ·and allocating resources, I think it was the initial
14· ·ideas.· Let's start with this one location because we
15· ·already know it's going to be successful in feeding the
16· ·same amount of people that were already being fed at the
17· ·library.
18· · · · Q.· Has this, since 61 Riesner became the sole
19· ·location in 2023, has the City created or authorized
20· ·charitable food service events at more public
21· ·properties?
22· · · · A.· No.
23· · · · Q.· And so I'm not sure what you just said answered
24· ·my original question which is why did the City decide to
25· ·create one location as the exclusive place for




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·1· ·charitable food service events instead of how it had in
·2· ·2012 through 2016 approved multiple locations throughout
·3· ·Houston?
·4· · · · A.· Well, the City does not have the resources to
·5· ·staff every single park to conduct charitable food
·6· ·events in a safe manner.
·7· · · · Q.· What other locations did the City consider --
·8· ·or let me put that differently.
·9· · · · · · · · ·So in authorizing and creating an exclusive
10· ·location for charitable food service events on city
11· ·property, were there other locations that the city
12· ·considered besides 61 Riesner Street?
13· · · · A.· I'm not sure.
14· · · · Q.· I will mark this as Exhibit 27.
15· · · · · · · · ·(Exhibit No. 27 was marked.)
16· · · · · · · · ·MR. SOH:· So I assume we're done with 26.
17· · · · · · · · ·MR. FIFE:· Yes.
18· · · · Q.· (BY MR. FIFE)· This is an e-mail thread
19· ·between -- well, several members of the mayor's staff.
20· ·And do you know what HCD means?
21· · · · A.· Where is that at?
22· · · · Q.· It's next to Mr. Marc Eichenbaum's e-mail.
23· · · · A.· I know he was assigned to the homeless
24· ·initiatives, so maybe.
25· · · · Q.· It's okay.




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·1· · · · A.· I'm not sure.
·2· · · · Q.· Yeah.· So can you turn to the back page which
·3· ·is COH-084927.· In the middle of the page, there's an
·4· ·e-mail that's from Andy Icken to Mayor Turner,
·5· ·Marvalette Hunter, Marc Eichenbaum, and James Koski.
·6· · · · · · · · ·Do you see that?
·7· · · · A.· I do.
·8· · · · Q.· And this e-mail was sent on August 11th, 2021.
·9· ·It says "Mayor, after our call this afternoon, James"
10· ·and I -- "James, Marc, and I got together to be sure we
11· ·focus on possible feeding sites that met the criteria we
12· ·discussed."
13· · · · · · · · ·Do you know what criteria they discussed?
14· · · · A.· I do not.
15· · · · Q.· Is the criteria they discussed written
16· ·anywhere?
17· · · · A.· I do not know.
18· · · · Q.· But sitting here today, you don't know what
19· ·criteria Mr. Icken was referring to?
20· · · · A.· No.
21· · · · Q.· And then he continues "We plan on focusing on
22· ·three different sites that potentially meet the needs:
23· · · · · · · · ·1.· St. John's/ Pastor Rudy."
24· · · · · · · · ·Who is Pastor Rudy?
25· · · · A.· I do not know him.




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·1· · · · Q.· Does he run or direct the Bread of Life
·2· ·organization?
·3· · · · A.· That sounds familiar.· Quite possibly, but I do
·4· ·not know for sure.
·5· · · · Q.· Where is St. John/Pastor Rudy's facilities?
·6· · · · A.· Based on this e-mail, I would say the southeast
·7· ·quadrant of central business district just south of the
·8· ·Pierce Elevated.
·9· · · · Q.· So the next is municipal courthouse area.· And
10· ·then there is a -- and then -- so the municipal
11· ·courthouse area is -- would include 61 Riesner Street?
12· · · · A.· Yes -- sorry.
13· · · · Q.· 61 Riesner Street is in the municipal
14· ·courthouse area?
15· · · · A.· Yes.
16· · · · Q.· And if you can look at the last sentence, it
17· ·says "The challenge will be the perception it is 'out of
18· ·sight.'"
19· · · · · · · · ·Did I read that correctly?
20· · · · A.· Yes.
21· · · · Q.· So can you turn back to the first page?· This
22· ·is -- and then at the bottom of the first page, there is
23· ·an e-mail from Marvalette Hunter.
24· · · · · · · · ·Do you see that, that she sent on
25· ·October 12, 2021?




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·1· · · · A.· I do.
·2· · · · Q.· Ms. Hunter writes "My recommendation is the
·3· ·Municipal Courthouse Area No. 2.· It has already been
·4· ·assessed and is functionally appropriate.· Being out of
·5· ·sight should not be a determinate of an appropriate
·6· ·location."
·7· · · · · · · · ·Do you see that?
·8· · · · A.· I do.
·9· · · · Q.· Does the City agree that in approving
10· ·charitable food service events it does not take into
11· ·account whether a location is "out of sight"?
12· · · · · · · · ·MR. SOH:· Objection; form.
13· · · · · · · · ·Go ahead and answer if you can.
14· · · · · · · · ·MR. FIFE:· Yeah, let me restart that
15· ·actually.
16· · · · Q.· (BY MR. FIFE)· Here, Ms. Marvalette says that a
17· ·location "being out of sight should not be a determinate
18· ·of an appropriate location" in reference to charitable
19· ·food service events, right?
20· · · · · · · · ·Right?
21· · · · A.· Yes.
22· · · · Q.· And here, being out of sight, would mean away
23· ·from public view?
24· · · · · · · · ·MR. SOH:· Objection; form.
25· · · · Q.· (BY MR. FIFE)· What does being out of sight




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·1· ·mean to you?
·2· · · · A.· Well, I'm not sure because I work in this
·3· ·complex and it's not out of sight.· So I'm not exactly
·4· ·sure what they're referring to.· I mean, you've got the
·5· ·courthouse next door that's open until 10:00 p.m.
·6· ·You've got I-45 that runs right next to it.· And if
·7· ·you're on it anytime between 3:00 and 6:00 p.m., you're
·8· ·going 20 miles an hour and you can look over into the
·9· ·parking lot and see the feeding occurring.
10· · · · · · · · ·MR. SOH:· I would object that 20 miles an
11· ·hour is a gross exaggeration of the speed limit of the
12· ·Pierce Elevated at 4:00 o'clock in the afternoon.
13· · · · A.· I'm just not sure what they're getting at as
14· ·far as it being out of sight.
15· · · · Q.· (BY MR. FIFE)· Okay.· Yeah, so I think the core
16· ·of what I'm trying to get at is just in deciding whether
17· ·to approve a location for charitable food service
18· ·activities.· Does the City consider whether it is -- it
19· ·will be viewed by the public?
20· · · · A.· Apparently not.· I don't think it's something
21· ·where it's -- either way where location is determined
22· ·because it is -- you know, there is people that are
23· ·going to see it versus a location where a lot of people
24· ·will see it.· So I think either way that is not used as
25· ·a determinate to identify a location.




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·1· · · · Q.· Yeah, whether a lot of people will see it or
·2· ·not --
·3· · · · A.· Correct.
·4· · · · Q.· -- does not matter to whether the City will
·5· ·approve the location?
·6· · · · A.· Right.· Because I don't think that affects the
·7· ·ability of an organization to provide food if other
·8· ·people can see it or not or the number of people who can
·9· ·see it.
10· · · · Q.· So we've discussed previously that the City
11· ·began posting notices about 61 Riesner in February
12· ·of 2023?
13· · · · A.· Yes.
14· · · · Q.· How -- and you said earlier that you talked
15· ·Sergeant Simon about the posting of the signs?
16· · · · A.· Yes.
17· · · · Q.· What did you ask him?
18· · · · A.· I asked him if he knew who posted them.· He
19· ·didn't know.· I have an e-mail -- I saw an e-mail at one
20· ·point from Andy Icken saying that the signs would be
21· ·posted February 20th.· I'm assuming it's just the City's
22· ·general service department that posted them because they
23· ·are the ones that are responsible for that type of
24· ·activity.· I was just curious if he knew, you know, who
25· ·posted them.




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·1· · · · Q.· But then February of 2023 is when the City made
·2· ·a concerted effort to move all Central Library feedings
·3· ·to 61 Riesner?
·4· · · · A.· Yes.
·5· · · · Q.· Okay.
·6· · · · A.· Well, March 1st.
·7· · · · Q.· March 1st was when the citations began?
·8· · · · A.· March 1st is when the enforcement began.
·9· · · · Q.· Yeah.· That was when the first citation was
10· ·issued?
11· · · · A.· Yes.
12· · · · Q.· Okay.
13· · · · · · · · ·MR. FIFE:· Should we break for ten minutes?
14· · · · · · · · ·MR. SOH:· Sure.
15· · · · · · · · ·(Recess from 2:22 p.m. to 2:35 p.m.)
16· · · · · · · · ·THE REPORTER:· Back on the record at 2:35.
17· · · · Q.· (BY MR. FIFE)· So we were just discussing
18· ·61 Riesner Street, and I'm going to mark this as
19· ·Exhibit 28.
20· · · · · · · · ·(Exhibit No. 28 was marked.)
21· · · · Q.· (BY MR. FIFE)· This is a -- appears to be a
22· ·Google Maps image produced to us during discovery and
23· ·is -- has Bates stamp COH_067224.· Now, would you say
24· ·that this is a fair and accurate depiction of the
25· ·municipal court area?




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·1· · · · A.· Minus several trees that have since died.
·2· · · · Q.· Okay.· So currently there are fewer trees?
·3· · · · A.· Currently there are fewer trees, but everything
·4· ·else looks accurate.
·5· · · · Q.· Okay.· And it's a little hard to read.· But do
·6· ·you see in red on the lower right-hand -- or lower right
·7· ·side of the page it says "Homeless feeding area" in red
·8· ·font?
·9· · · · A.· Yes.
10· · · · Q.· And it appears to -- the homeless feeding area
11· ·prepares -- appears to begin at the intersection of
12· ·Lubbock Street and Artesian Place?
13· · · · A.· So the feeding actually takes place in this
14· ·small parking lot that is really sandwiched between
15· ·Lubbock, Riesner, and Artesian.
16· · · · Q.· Could you mark that on your map with a star?
17· ·So that's slightly to the left of the red font, homeless
18· ·feeding area?
19· · · · A.· Correct.
20· · · · Q.· What is that building adjacent to Lubbock
21· ·Street directly in front of the homeless feeding area?
22· · · · A.· 61 Riesner.
23· · · · Q.· And that building is a Houston Police
24· ·Department building, right?
25· · · · A.· It is not occupied by the police department




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·1· ·anymore.· It is -- it used to be the Central Patrol
·2· ·Division building.· I believe after it got flooded from
·3· ·Harvey, we -- is when we discontinued using it.· There
·4· ·is a general services department group that uses part of
·5· ·that building.· But I think it's more on the north end
·6· ·that is utilized.
·7· · · · Q.· Outside -- and general services, is that
·8· ·general services for HPD or --
·9· · · · A.· City of Houston.
10· · · · Q.· City of Houston?· Okay.
11· · · · A.· Yes.
12· · · · Q.· Are there any other city functions or
13· ·departments that operate out of 61 Riesner Street?
14· · · · A.· I don't believe so.
15· · · · Q.· It was the old Central Patrol Division
16· ·building?
17· · · · A.· Yes.
18· · · · Q.· And then to the left of that building, there's
19· ·a municipal courthouse?
20· · · · A.· Yes.
21· · · · Q.· And that is the municipal courthouse where Food
22· ·Not Bombs volunteers would go to take care of their
23· ·tickets or contest there citations for violating the
24· ·charitable food service ordinance?
25· · · · A.· If that's where their court was.· There's




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·1· ·several different municipal courts across the city.
·2· ·This is the central courthouse; so I'm not sure where
·3· ·their docket was.
·4· · · · Q.· Yeah.· And on Exhibit 28 itself at the top, it
·5· ·says 60- -- the 61 Riesner Street in (HPD headquarters).
·6· ·It sounds like you would disagree with that
·7· ·characterization?
·8· · · · A.· Yes.· HPD headquarters is 1200 Travis.
·9· · · · Q.· Okay.· And was it ever HPD headquarters?
10· · · · A.· Not since I've been on the department for the
11· ·past 17 years.· Now, before that, I'm not sure.
12· · · · Q.· Okay.· Prior to the City designating 61 Riesner
13· ·Street as an authorized location for charitable food
14· ·service events, so before it was approved for charitable
15· ·feedings, did 61 Riesner Street have porta potties?
16· · · · A.· No.
17· · · · Q.· Did it have free parking?
18· · · · A.· No.
19· · · · Q.· Did it have a shipping container for storage?
20· · · · A.· Not for this use but --
21· · · · Q.· Not for charitable food service events?
22· · · · A.· It did not.
23· · · · Q.· Did it have tables designed for individuals to
24· ·eat food off of?
25· · · · A.· No.




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·1· · · · Q.· Did it have dumpsters designed for charitable
·2· ·food service providers to discard waste?
·3· · · · A.· No.· We had dumpsters.· But obviously before
·4· ·the feeding was there, it wasn't purposed for feeding.
·5· · · · Q.· Yeah, it was for whatever was happening inside
·6· ·the building, right?
·7· · · · A.· Correct.
·8· · · · Q.· So the City added all those elements to
·9· ·61 Riesner once it decided to designate it as the
10· ·exclusive charitable food service location?
11· · · · A.· Yes.
12· · · · Q.· So after March 1st, 2023, through the present,
13· ·do you know how many groups signed up to serve food at
14· ·61 Riesner?
15· · · · A.· I don't know how any groups have signed up.                          I
16· ·know that the list of recognized charitable food
17· ·providers, I believe, is at 199.
18· · · · Q.· Could groups serve at -- or can -- actually,
19· ·let me ask you this question.
20· · · · · · · · ·Is 61 Riesner Street still approved for
21· ·charitable food service events?
22· · · · A.· Yes.
23· · · · Q.· And so from March 1st, 2023, until now, can
24· ·groups sign up to serve food at the same time?
25· · · · A.· Yes.




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·1· · · · Q.· Practically, how does that work?· Do they work
·2· ·together to prepare food together or?
·3· · · · A.· So ideally, they would choose a date that is --
·4· ·somebody is not already feeding on in order to maximize
·5· ·our ability to feed throughout the entire week.· But we
·6· ·are not going to say no to an organization.
·7· · · · · · · · ·So if an organization says I would like to
·8· ·feed at this day on this time, we look at the calendar,
·9· ·and if there's already somebody else for that date and
10· ·that time, then we just let them know they have to
11· ·coordinate, you know.
12· · · · Q.· Yeah.
13· · · · A.· So you're both going to be out there feeding.
14· · · · Q.· And has the City received complaints from
15· ·groups who were scheduled at the same time?
16· · · · A.· Not that I'm aware of.
17· · · · Q.· And when a charitable food service event is
18· ·happening at 61 Riesner, are there always uniformed
19· ·police officers there?
20· · · · A.· Yes, if they let us know about it.
21· · · · Q.· Okay.· And so when a group conducts a food
22· ·service event at 61 Riesner Street, do they -- is there
23· ·a sanitation person on-site who's inspecting the food?
24· · · · A.· No.
25· · · · Q.· And so the officers aren't inspecting the food?




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·1· · · · A.· No.· I mean, the officers are empowered to
·2· ·enforce anything from the health and safety code.· So if
·3· ·they see some sort of egregious violation, you know,
·4· ·then they're empowered to address it.· I'm not aware of
·5· ·any instance where that's occurred.
·6· · · · Q.· And, yeah, that makes sense.· I think my
·7· ·question is a little bit more simpler than that.· There
·8· ·is no city employees at 61 Riesner food service events
·9· ·proactively checking the food?
10· · · · A.· Correct.
11· · · · Q.· To serve food at 61 Riesner Street, does a
12· ·group have to be a registered charitable food service
13· ·provider?
14· · · · A.· No.
15· · · · Q.· And that's because the recognized provider
16· ·program is voluntary?
17· · · · A.· Correct.
18· · · · Q.· So a group could serve food at 61 Riesner
19· ·without taking the food safety course?
20· · · · A.· Correct.
21· · · · Q.· And they could serve food at 61 Riesner Street
22· ·without having a certificate from the City saying
23· ·they're a recognized charitable food service provider?
24· · · · A.· Correct.
25· · · · Q.· So does the City -- so let's just say across




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·1· ·the last six months, on most days, is there someone
·2· ·providing food at 61 Riesner Street?
·3· · · · A.· Of the majority of the days, yes.· I believe
·4· ·there's at least four days that are generally covered.
·5· ·I'd have to look at the schedule to confirm.
·6· · · · Q.· Well, so I guess I'm glad you brought that up
·7· ·which is -- are you familiar with the City's Dinner to
·8· ·Home Program?
·9· · · · A.· Yes.
10· · · · Q.· And that was a contract awarded to Bread of
11· ·Life where the City was paying Bread of Life to provide
12· ·charitable food services at 61 Riesner Street?
13· · · · A.· Yes.
14· · · · Q.· And do you know when the City's contract with
15· ·Bread of Life began?
16· · · · A.· I believe it was November of -- I want to say
17· ·2022.
18· · · · Q.· And so under that -- did Bread of Life serve
19· ·food at 61 Riesner Street before the City was paying --
20· ·had a contract with Bread of Life?
21· · · · A.· I'm not sure as far as the timeline.· I know
22· ·that they were the vendor who won the bidding process to
23· ·be awarded the HRPA funds for the Dinner to Home
24· ·Program.
25· · · · Q.· And do you know what days they were asked to




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·1· ·COUNTY OF HARRIS )

·2· ·STATE· OF· TEXAS )

·3

·4· · · · · · · · · ·REPORTER'S CERTIFICATION

·5

·6· · · · I, Donna Qualls, Notary Public in and for the State

·7· ·of Texas, Notary ID No. 12161359, hereby certify that

·8· ·this transcript is a true record of the testimony given

·9· ·and that the witness was duly sworn by the notary.

10· · · · I further certify that I am neither attorney nor

11· ·counsel for, related to, nor employed by any of the

12· ·parties to the action in which this testimony was taken.

13· · · · Further, I am not a relative or employee of any

14· ·attorney of record in this cause, nor do I have a

15· ·financial interest in the action.

16· · · · Subscribed and sworn to on this the 26th day of

17· ·February, 2025.

18

19
· · · · · · · · · · · ·_____________________________________
20· · · · · · · · · · ·DONNA QUALLS
· · · · · · · · · · · ·Notary Public in and for
21· · · · · · · · · · ·The State of Texas, Notary ID 12161359
· · · · · · · · · · · ·My Commission expires 11/06/2026
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